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                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF ARIZONA

United States of America                                               CRIMINAL COMPLAINT
                                                                       CASE: 18-26828M
vs.                                                                    Citizenship: MEXICO

Pablo Ceballos-Bojorquez

 
   I state that I am a Border Patrol Agent and that this complaint is based on the following facts:
COUNT 1: On or about May 14, 2018, at or near Nogales, Arizona, in the District of Arizona, Pablo
CEBALLOS-Bojorquez, an alien, entered, and was found in the United States of America after having been denied
admission, excluded, deported, and removed from the United States through Nogales, Arizona on August 28,
2017, and not having obtained the express consent of the Attorney General or the Secretary of DHS to reapply
for admission thereto; in violation of Title 8, United States Code, Section 1326. COUNT 2: On or about May 12,
2018, at or near Nogales, Arizona, in the District of Arizona, Pablo CEBALLOS-Bojorquez, an alien, did unlawfully
enter the United States of America from Mexico, at a time and place other than as designated by immigration
officials of the United States of America, in violation of Title 8, United States Code, Section 1325 (a) (1), a petty
misdemeanor.


   Pablo CEBALLOS-Bojorquez is a citizen of Mexico. On August 28, 2017, Pablo CEBALLOS-Bojorquez was
lawfully denied admission, excluded, deported, and removed from the United States through Nogales, Arizona.
On May 14, 2018, agents found Pablo CEBALLOS-Bojorquez in the United States at or near Nogales, Arizona.
Pablo CEBALLOS-Bojorquez did not obtain the express consent of the Attorney General or the Secretary of DHS to
re-apply for admission to the United States. On or about May 14, 2018, agents found Pablo CEBALLOS-Bojorquez
in the United States of America at or near Nogales, Arizona without the proper immigration documents.
Furthermore, Pablo CEBALLOS-Bojorquez admitted to illegally entering the United States of America from Mexico
on or about May 12, 2018, at or near Nogales, Arizona at a time and place other than designated by immigration
officials.


                                                           at Tucson, Arizona
File Date: 05/16/2018




 


                                                                       John OConnor, Border Patrol Agent




Sworn to before me and subscribed in my presence,

 


Date signed: 05/16/2018



                                                                           Lynnette C. Kimmins
                                                                      United States Magistrate Judge

 
